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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS

MIDAMINES SPRL LTD.
Plaintiff,
v.                                                             Case No. 18-cv-1489
KBC BANK N.V.;                                                 Honorable John J. Tharp, Jr.
KBC GROUP N.V.
Defendants______________/

                           DECLARATION OF HASSAN A. ABBAS

       I, Hassan A. Abbas, hereby declare, pursuant to 28 U.S.C. §1746, as follows:

1.     I have personal knowledge of the following and I would be competent to testify thereto. I

am an Illinois licensed attorney in good standing since 1991 (IL. ARDC No. 6206474), I am

representing the Plaintiff, Midamines Sprl Ltd., an Illinois corporation, which was duly

incorporated in Illinois in 2012, and it is a separate legal entity, established under Illinois law.

2.     This declaration is in support of Plaintiff’s opposition to the motion to dismiss, and

Plaintiff’s motion to strike the improper declarations of Peter Vanhuysse, and Diane Grimmig,

and Jan Berkers, or portions thereof.

3.     Attached as Exhibit 1, is the BankNet report on the KBC Bank N.V., New York, NY

which was established in New York in 1977, at 1177 Avenue of the Americas, NY, NY 10039.

KBC Bank has been doing in the United States for over 40 years and KBC has long term and

significant contacts with the United States as a whole.

4.     Attached as Exhibit 2, is the KBC Bank’s U.S. Resolution Plan.

5.     Attached as Exhibit 3, is an exhibit relative to the cashier’s certified bank check deposits

in the United States, including but not limited to, USD check for $35,110.72, drawn on KBC

Bank NV New York, which was deposited on or around October 4, 2012 to the PNC account of

Midamines Sprl Ltd., in Illinois. This was paid initially in October 11, 2012 and two weeks later




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unlawfully stolen and reversed by KBC without legal authority, and in violation of the banking

laws, RICO laws, and Illinois UCC. The Belgian Euro check for 56,4514.73 was deposited to the

Illinois Citibank account of Midamines Sprl Ltd., but was never paid, and the check was stolen

and never returned by KBC Bank. Both checks had to go through a collection process and were

not automated payments. KBC had to manually verify and/or insert the Illinois bank routing

numbers relative to the USD check which originally did not have the Illinois routing number

printed at the bottom (U.S. checks normally have the bank routing number and account number

printed at the bottom) but the Belgian checks do not. KBC had to verify and/or insert and

transmit the Illinois routing and account numbers manually. KBC knew from the Illinois bank

routing numbers, which the KBC had manually verified and/or inserted during the collection

process, that payment was made to Illinois. Having made the payment to Illinois on or around

10/11/2012 (See “Capture date” and See “Posted date”), KBC knew that payment was being

pulled from Illinois, from Plaintiff Midamines Sprl Ltd.’s account, on or around 10/22/12, and

KBC intentionally targeted Illinois with its mail and wire fraud and falsely asserted a

“provisional debit” payment to the bank in Illinois and/or wire providers when it was a final

payment under the law and it was irrevocable. KBC document shows it was (See Record Type:

“debit”) and there was nothing “provisional” about it nor mentioned. The USD check posted on

October 11, 2012, and account of Antwerp Diamond Bank was debited, and the account of

Midamines Sprl Ltd., in Illinois, credited for $35,110.72, and it was a final payment under the

law, and under the U.C.C.’s “Midnight Deadline” rule and “Final Payment” rule. After

unlawfully stealing the Plaintiff’s money from Illinois, KBC Bank transported and/or caused to

be wired the stolen money across interstate lines from Illinois to KBC Bank New York. KBC

Bank’s tortious conduct and conversion was in Illinois. For the past six years, KBC Bank has




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refused to return the money that KBC Bank has stolen from Plaintiff and Midamines Sprl Ltd,

both $35,110.72 and Euros 56,414.73. The USD check image, with “Stop Payment” is different

from the original USD check which does not have the Illinois routing numbers and account

numbers printed at the bottom. KBC knew payment was to Illinois as the Illinois routing

numbers had to be manually added and/or verified by KBC.

6.      Attached as Exhibit 4, is the U.S. Department of State country report on the Democratic

Republic of Congo; which states that the judicial system in Congo lacks due process and lacks

independence and there is corruption at all levels of government. The report also states that in the

Congo, the judges are subject to coercion and influence.

7.      Attached as Exhibit 5, is the motion to strike the declaration of Peter Vanhuysse

8.      Attached as Exhibit 6, is the motion to strike the declarations of Diane Grimmig and Jan

Berkers.

9.      Attached as Exhibit 7, is Article 624 of the Belgian Judiciary Code and a sworn

translation.

10.     Attached as Exhibit 8, is the KBC Group N.V. website’s report relative to KBC Bank

N.V. which states:

        “The simplified schematic shows KBC Group’s legal structure, which has one single
entity – KBC Group NV – in control of two underlying companies, viz. KBC Bank and KBC
Insurance. KBC Group’s shares are traded publicly on Euronext Brussels. All of KBC Bank’s
shares are held (directly and indirectly) by KBC Group NV.” (See https://www.kbc.com/en/kbc-
bank-versus-kbc-group)

11.     Attached as Exhibit 9, is an email from KBC’s counsel, Alvin Lee confirming KBC has

rejected all settlement proposals, and shows the defendant’s continuing conversion and theft,

which is necessitating the entire litigation for the past six years in order for Plaintiff to recover its

funds which are stolen by KBC.




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       I declare under penalty of perjury under the laws of Illinois and the United States that the

foregoing is true and correct.

       Executed on July 26, 2018

       s/ Hassan A. Abbas




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